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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


JOSEPH BOYD,

                        Plaintiff,
                                                                  NOTICE OF REMOVAL
       -against-
                                                                       No. 6:21-cv-6651
STEPHEN M. OSBORN, ESQ.,

                        Defendant.


       Defendant Stephen M. Osborn, Esq. (“Osborn”), by and through his counsel, Ward

Greenberg Heller & Reidy LLP, hereby gives notice of the removal of this civil action from the

Supreme Court of the State of New York, County of Monroe, to the United States District Court

for the Western District of New York. This Notice of Removal is filed pursuant to 28 U.S.C. §§

1332, 1441, and 1446.

       As grounds for removal, Defendants state as follows:

Background Facts Regarding Pleadings Served and Filed to Date

       1.       On September 7, 2021, plaintiff Joseph Boyd (“Plaintiff”) filed a Summons and

Complaint in the Supreme Court of the State of New York, Monroe County, Index No.

E2021008281 (the “State Court Action.”). A copy of the Summons and Complaint are attached

as Exhibit A and Exhibit B, respectively.

       2.       Plaintiff’s claims arise from alleged defamation by Osborn while acting as legal

counsel to Quantum Loop Solutions, Inc. Exhibit B at ¶ 17. Plaintiff alleges that Osborn

defamed Plaintiff in a report made by Osborn to the Board of Quantum Loop Solutions, Inc.
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relating to an investigation by Osborn—as counsel—into potential Board member misconduct.

Id. at ¶ 9-10.

        3.       On or about September 21, 2021, Plaintiff attempted service of the Summons and

Complaint by hand delivery on John Doe, an assistant at Osborn’s law firm, Mintz Levin at 44

Montgomery Street, 36th Floor, San Francisco, CA 94104, as reflected in the affidavit of service

attached as Exhibit C. On or about September 30, 2021, Plaintiff attempted to effect service by

mail to Osborn at that same address. See Exhibit C.

        4.       Exhibits A-C constitute the only pleadings or papers known to have been filed or

served in the State Court Action.

        5.       Pursuant to 28 U.S.C. § 1446(a), an index of all process, pleadings, and orders

filed and served in the State Court Action is attached as Exhibit D.

Grounds for Removal – Diversity Jurisdiction

        6.       The Complaint is removable to the United States District Court for the Western

District of New York, pursuant to 28 U.S.C. § 1332(a), because there is diversity of citizenship

between the parties, and the amount-in-controversy exceeds the sum or value of $75,000,

exclusive of interest, costs, and attorneys’ fees.

        7.       There is diversity of citizenship between the parties, as Plaintiff is a citizen of

New York (see Exhibit B at ¶ 2), and Osborn is not a citizen of New York (see Exhibit B at ¶

3).

        8.       At the time plaintiff’s Complaint was filed, and at the time this notice is filed,

Plaintiff is a citizen of the State of New York, residing at 30 W Broad Street, Unit 2, Rochester,

New York 14614. See Exhibit B at 2.




                                                     2
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       9.       Osborn is a resident of the State of California, with his place of business located

at 44 Montgomery Street, 36th Floor, San Francisco, California 94104. See Exhibit B at ¶ 3.

       10.      As to the amount-in-controversy requirement, the amount-in-controversy in this

action exceeds $75,000, exclusive of interest, costs, and attorneys’ fees; in his complaint,

Plaintiff claims that Osborn is liable to him for the payment of money damages no less than

$5,000,000.00. See Exhibit B at ¶ 1.

Timeliness of Removal

       11.      This removal is timely under 28 U.S.C. § 1446(b)(1). Osborn’s first notice of the

action occurred no earlier than September 21, 2021, the date on which the Summons and

Complaint were first delivered in person to an assistant at Osborn’s law office in San Francisco.

Plaintiff thereafter also mailed a copy of the Summons and Complaint to Osborn at his business

address. See Exhibit C.

       12.      Because thirty days has not passed since Osborn’s notice of the action, the time

for removal has not expired and the Notice of Removal is timely pursuant to 28 U.S.C. §

1446(b).

Venue is Proper

       13.      Venue is proper in this District pursuant to 28 U.S.C. § 1441(a) because the

United States District Court for the Western District of New York is the District embracing the

state court in which the State Court Action is pending – Monroe County.

Notice of the Removal

       14.      Pursuant to 28 U.S.C. § 1446(d) and Western District of New York Local Rule

81(a)(4), Defendant will promptly serve Plaintiff’s counsel with a Notice of Notice of Removal




                                                 3
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attaching a copy of this Notice of Removal, and Defendant will promptly file with the Clerk of

the County of Monroe, a Notice of Filing of Notice of Removal.

       WHEREFORE, Defendant respectfully submits that this Court has jurisdiction over the

claims asserted in this action, pursuant to 28 U.S.C. § 1332(a), that the action properly is

removable pursuant to 28 U.S.C. §§ 1441 and 1446, and that the removal has been effected in a

timely and appropriate manner.



Dated: October 21, 2021                     WARD GREENBERG HELLER & REIDY LLP


                                            By:    /s/ Joshua M. Agins
                                                       Joshua M. Agins

                                            1800 Bausch and Lomb Place
                                            Rochester, New York 14614
                                            Telephone: (585) 454-0700
                                            jagins@wardgreenberg.com

                                            Attorneys for Defendants


TO:    Linda H. Joseph
       Schroder, Joseph & Associates, LLP
       394 Franklin Street, 2nd Floor
       Buffalo, NY 14202
       Telephone: (716) 881-4902

       Attorney for Plaintiff

       Ms. Jamie Romeo
       County Clerk of Monroe County
       Office of the Monroe County Clerk
       39 W. Main Street
       Room 101
       Rochester, NY 14614




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             EXHIBIT
               A
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              MONROE COUNTY CLERK’S OFFICE                    THIS IS NOT A BILL. THIS IS YOUR RECEIPT.


                                                       Receipt # 2833459

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   LINDA H. JOSEPH
   394 Franklin Street                                 Instrument: EFILING INDEX NUMBER
   2nd Floor
   Buffalo, NY 14202                                   Control #:         202109071307
                                                       Index #:           E2021008281

                                                       Date: 09/07/2021

    Boyd, Joseph                                       Time: 5:14:10 PM




    Osborn, Steven M. Esq.




   State Fee Index Number                    $165.00
   County Fee Index Number                    $26.00
   State Fee Cultural Education               $14.25
   State Fee Records                           $4.75   Employee: CW
   Management

   Total Fees Paid:                          $210.00




   State of New York

   MONROE COUNTY CLERK’S OFFICE
   WARNING – THIS SHEET CONSTITUTES THE CLERKS
   ENDORSEMENT, REQUIRED BY SECTION 317-a(5) &
   SECTION 319 OF THE REAL PROPERTY LAW OF THE
   STATE OF NEW YORK. DO NOT DETACH OR REMOVE.

                          JAMIE ROMEO

                      MONROE COUNTY CLERK




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           SUPREME COURT
           STATE OF NEW YORK : MONROE COUNTY

           JOSEPH BOYD
           30 W Broad Street, Unit 2
           Rochester, New York 14614
                                                         Plaintiff,

           v.                                                                   Gammons!
                                                                                Index No.
           STEVEN M. OSBORN, ESQ.
           c/o Mintz Levin
           44 Montgomery Street, 36th Floor
           San Francisco, California 94104
                                                         Defendant.


                    TO THE ABOVE NAMED DEFENDANT, you are hereby summoned and required to
           answer the Complaint in this action, and to serve a copy of your answer, or, if the Complaint is
           not served with this Summons, to serve a Notice of Appearance, on the Plaintiffs attomey(s)
           within twenty (20) days after the service of this Summons, exclusive of the day of service, or
           within thirty (30) days after completion of service where service is made in any other manner
           than by personal delivery within the County of Monroe and State of New York. In case of your
           failure to appear or answer, judgment will be taken against you by default for the relief demanded
           in the Complaint.

                  Monroe County is designated as the place of trial and the basis of the venue is that the
           Plaintiffs headquarters is located in Monroe County, New York.

           Dated: September 7, 2021
                  Buffalo, New York
                                                 Sincerely,

                                                SCHRODER, JOSEPH & ASSOCIATES, LLP


                                                            jrj
                                                Linda H. Joseph
                                                               .
                                                                   ,

                                                392 Pearl Street, Suite 301
                                                Buffalo, New York 14202
                                                Telephone: (716) 881-4902
                                                Facsimile: (716) 881-4909
                                                ljoseph@sjalegal.com
                                                Attorneys for Plaintiff




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             EXHIBIT
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   Buffalo, NY 14202                                 Control #:         202109071300
                                                     Index #:           E2021008281

                                                     Date: 09/07/2021

    Boyd, Joseph                                     Time: 5:13:21 PM




    Osborn, Steven M. Esq.




   Total Fees Paid:                          $0.00

                                                     Employee:




   State of New York

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   ENDORSEMENT, REQUIRED BY SECTION 317-a(5) &
   SECTION 319 OF THE REAL PROPERTY LAW OF THE
   STATE OF NEW YORK. DO NOT DETACH OR REMOVE.

                          JAMIE ROMEO

                      MONROE COUNTY CLERK




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          SUPREME COURT OF
          THE STATE OF NEW YORK : COUNTY OF MONROE
          JOSEPH BOYD
          30 W Broad Street, Unit 2
          Rochester, New York 14614

                                         Plaintiff,
          v.                                                           Index No.

          STEVEN M. OSBORN, ESQ.
          c/o Mintz Levin
          44 Montgomery Street, 36th Floor
          San Francisco, California 94104

                                         Defendant.



                                               VERIFIED COMPLAINT

                    Plaintiff, Joseph Boyd, (“Plaintiff ”) by and through his attorneys, SCHRODER, JOSEPH

         & ASSOCIATES, LLP, for his Verified Complaint, states as follows:

                                             NATURE OF THE ACTION

               1.      This Complaint seeks damages for defamation per se engaged in by Defendant Steven

         M. Osborn, Esq. when acting as legal counsel in New York State to Quantum Loop Solutions, Inc.

         (“QLS”) of 215 Alexander Street, Suite 100, Rochester, New York. 14607. In October, 2020,

         Defendant Osborn defamed Plaintiff by making absolutely false statements about Plaintiff to QLS

         Board Members that were such as to tend to harm an individual like Plaintiff in his profession or

         trade inasmuch as Plaintiff is a professional financial advisor. As discussed in detail below,

         Defendant Osborn’s statements as to Plaintiff Joseph Boyd were absolutely false and defamatory

         assertions that are documented in a written email sent to QLS Board members transmitted by

         Defendant Osborn on October 10, 2020 to all of the QLS Board members and further discussed by

         Defendant Osborn at a QLS Board meeting held on October 15, 2020 that was preserved in a video

         recording. Accordingly, based upon the absolutely false, damaging and inflammatory statements




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           made by Defendant Osborn, Plaintiff is entitled to an award of damages in an amount to be set by

           the trier of fact but not less than five million dollars.

                                        PARTIES. JURISDICTION AND VENUE

                  2. Plaintiff Joseph Boyd, a financial advisor, resides in Victor, New York and has business

           offices at Boyd Capital Management, 30 W. Broad Street, Unit 2, Rochester, New York 14614.

                  3. Defendant Steven M. Osborn is an attorney who is associated with the Mintz Levin law

           firm which has offices at 44 Montgomery Street, 36th Floor, San Francisco, California and who, upon

          information and belief, is a resident of California.

                  4. At the time of the false and defamatory statements made by Defendant Osborn as to

          Plaintiff Joseph Boyd, Defendant Osborn was acting as legal counsel to QLS, a corporation located

          in Rochester, New York, thereby causing injury and harm to Plaintiff, a New York resident whose

          business is located in Rochester, New York.

                      5. Accordingly, jurisdiction and venue are proper before this Court because the

          Defendant’s unlawful conduct caused injury to Plaintiff in New York State and more specifically

          damaged Plaintiff who works in Rochester, New York where his business is located.

            FACTS ESTABLISHING THAT DEFENDANT ENGAGED IN DEFAMATION PER SE
            AND IS LIABLE TO PLAINTIFF FOR DAMAGES TO HIS BUSINESS REPUTATION

                      6. Plaintiff Joseph Boyd is a professional financial advisor whose business is located in

          Rochester, New York and who was providing financial advice and services in 2020 to an investor

          who made an investment in QLS.

                      7. In his capacity as a financial advisor to this investor, Plaintiff Boyd was elected to

          the Board of Directors of QLS and also was a signatory to a certain bank account held in the name

          of QLS that contained funds belonging to the investor whom he represented.




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                      8. Because of concerns about possible mismanagement of the funds of QLS, including

           funds belonging to the investors which were in this bank account to which QLS’s majority

                                                               —
           shareholders also had access, Plaintiff Joseph Boyd who as noted above was a signatory to the

                                                                            —
           account for purposes of protecting the minority investors in QLS took protective action.

                      9. The protective action taken by Plaintiff Boyd was to transfer the minority investor’s

          funds into a separate bank account   —a preexisting account that also was in the name of QLS—until
          such time as there could be an investigation into the possible mismanagement by the majority

          shareholders of QLS and these funds.

                      10. In response, in an effort to undermine the reputation and integrity of Plaintiff Boyd,

          Defendant Osbom transmitted an email on Saturday, October 10, 2020 to the members of the Board

          of Directors of QLS in which Osbom falsely stated that Plaintiff had engaged in theft and illegal

          actions.

                     11. Defendant Osborn’s statements in the October 10, 2020 email were absolutely false.

          Contrary to these knowingly false statements by Defendant Osbom, Plaintiff Boyd in fact simply

          had protectively transferred the funds belonging to the minority investor—whose interests it was

          Plaintiff Boyd’s obligation to protect—into a separate preexisting bank account which was held in

          the name of QLS for safekeeping until the possible mismanagement by the majority shareholders of

          QLS could be investigated.

                     12. By publishing the absolutely false statements in his October 10, 2020 email which

          was transmitted to the QLS Board members who all live in Western and Central New York State,

          Defendant Osbom engaged in defamation per se in the State of New York.

                     13. Indeed, Defendant Osborn’s publication of his false statements to the QLS Board

          could easily have destroyed Plaintiffs career and livelihood as a financial advisor and make it

          impossible for him to provide for his family. At a minimum, by transmitting his false and




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           defamatory email to the QLS Board members, Defendant Osborn destroyed any potential for

           Plaintiff Boyd to work with those QLS Board members who had received the absolutely false and

                                                                                            —
           defamatory statements about him from QLS’s legal counsel, Defendant Osborn a person whom

                                        —                       —
           these Board members trusted perhaps imprudently as the attorney for QLS.

                     14. The absolutely false statements published by Defendant Osborn to the QLS Board

           members regarding Plaintiff Boyd in Osborn’s October 10, 2020 email were as follows:

                          “Mr. Boyd ’s illegal actions appear to be personally motivated based on

                          his quest to control this company without the right to do so.” ***

                          “An unauthorized transfer of corporate funds would be embezzlement,

                          which is more commonly known as theft. This action has both

                         criminal and civil implications for the perpetrator. ” (Emphasis

                         added.)

                  15. The foregoing statements were knowingly and intentionally made to damage Plaintiff

          and his reputation and necessitate that punitive damages be awarded in this action.

                  16. There was a QLS Special Board Meeting held on Thursday, October 15, 2020 to discuss

          these matters at which Defendant Osbom continued to make these same defamatory and false

          statements about theft and unlawful conduct by Plaintiff to the Board members of QLS.

                  17. The QLS Special Board Meeting of October 15, 2020 was conducted by Zoom and

          attended by the following persons: QLS Board Members Robert Nead, Benjamin Weiner, Samuel

          Weiner, Debbie Wagner, Philip Wehrheim, Chris Missick and Plaintiff Joseph Boyd as well as QLS

          Corporate Counsel, Defendant Stephen Osbom.

                 18. When directly confronted by Plaintiff as to the falsity of his statements—and the reasons

          as to why it was clear that these statements that Plaintiff had engaged in theft and illegal conduct

                    —
          were false Defendant Osbom attempted to “save face” by begrudgingly stating that his factual




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           statements “might” be false.

                  19. Specifically, one hour and thirty minutes into the Board meeting, when Plaintiff pointed

          out that Defendant’s statements were absolutely false and “came across as a bullying tactic,” in an

          effort to “save face,” Defendant Osborn asserted that “to some extent your comments are fair” and

          “I don’t have all the facts.”
                   20. Of course, Defendant’s begrudging, face-saving comment       —after the Board meeting
          had gone on for approximately 1 Vi hours—that his statements “might’ be false was insufficient to

          correct the damage done by his defamatory statements in the October 10, 2020 email and later at the

          October 15, 2020 Special Board Meeting asserting that Plaintiff had engaged in “theft” and

          “unlawful conduct.”

                  21. Defendant Osborn’s conduct is particularly egregious when it is considered that

          Defendant Osbom knew—when making these defamatory statements—that Plaintiff Boyd is a

          professional financial advisor who depends on his reputation and trustworthiness for his livelihood

          and when it is further considered that   —as an attorney—Defendant Osbom presumably knows that
          negligence is not a defense to making defamatory statements such as those made by Defendant

          Osbom regarding Plaintiff Joseph Boyd.

                  22. Plaintiff Joseph Boyd is not a public figure and Defendant Osbom had no right to make

          the false and defamatory statements about him that were published to the QLS Board members.

                 23.    Based on the foregoing, Defendant has engaged in defamation per se and further,

          while not necessary to his claims, Plaintiff has suffered special harm. Thus, Plaintiff is entitled to

          judgment against Defendants in an amount to be determined at trial, but not less than five million

          dollars, together with his costs and expenses, and such other and further relief as the Court deems

          proper and just.




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                                                 PRAYER FOR RELIEF

                  WHEREFORE, Plaintiff respectfully requests that he be granted judgment on his Cause of

           Action for Defamation Per Se against Defendant Osborn and that Plaintiff be awarded damages in

           an amount to be determined by the trier of fact, but not less than five million dollars, together with

          punitive damages, attorney’s fees, his costs and expenses and such other and further relief as the

          Court deems proper and just.

          Dated: September 7, 2021
                 Buffalo, New York


                                                 Respectfully submitted,

                                                 SCHRODER, JOSEPH & ASSOCIATES, LLP


                                                                       'H'
                                                 Linda H. Joseph ^
                                                 394 Franklin Street, Second Floor
                                                 Buffalo, New York 14202
                                                 (716) 881-4902 Telephone
                                                 (716) 881-4909 Facsimile
                                                 li osephcSJsi alegal.com
                                                 Attorneys for Plaintiff Joseph Boyd




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                                                     VERIFICATION
          STATE OF NEW YORK                      .
          COUNTY OF MONROE            -
                 JOSEPH BOYD, being duly sworn, deposes and says that he is the Plaintiff in the
          foregoing action and he has read the foregoing Complaint and the allegations and information

          provided therein are true and correct based upon his personal knowledge..




                                                              Jox'ph Boyd                7
                                                                                         <
          Sworn to before me this
                                                              ^
              day of September, 2021.




                   KAREN C. BODINE
                          -
              Notary Public State of New York
                    No. 01 BO6375799
                Qualified in Ontario County
            My Commission Expires May 29, 2022




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              EXHIBIT
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                          IN THE SUPREME COURT OF THE STATE OF NEW YORK , COUNTY OF MONROE

    JOSEPH BOYD                                                                       Hearing Date :
                                                               Plaintiff/Petitioner   INDEX NO :     E 2021008281
    vs.                                                                               Index Date :   09/ 07/ 2021
    STEPHEN M . OSBORN , ESQ .                                                        AFFIDAVIT OF SERVICE OF :
                                                      Defendant/Respondent            Summons; Complaint; Confirmation Notice

    Received by Tasia Stone , on the 16 th day of September , 2021 at 2 : 26 PM to be served upon Stephen M . Osborn, Esq . at 44
    Montgomery Street, 36 th Floor , San Francisco, San Francisco County , CA 94104 .
    The undersigned, being first duly sworn, on oath deposes and says: That s(he) is now and at all times herein mentioned was a citizen
    of the United States, over the age of eighteen, not an officer of a plaintiff corporation, not a party to nor interested in the above entitled
    action, and is competent to be a witness therein.

    On the 21 st day of September, 2021 at 1:07 PM at the address of 44 Montgomery Street, 36 th Floor, San Francisco , San
    Francisco County , CA 94104 , this affiant served the above described documents upon Stephen M. Osborn, Esq . in the manner
    described below:

    SUBSTITUTE SERVICE , by leaving 1 true ah d correct-eopy (ies).of the above described documents , with the date and hour of service
                                                       "
                                                           '   '




    endorsed thereon by this affiant , with John Doe , a person of suitable age and discretion who stated they reside at the defendant ' s
    usual place of abode lisfed above.
    On the date of        •  HQ ‘ I                          affiant then deposited in the United States mail , in the county where the property
    is situated, the above described documents in an envelope bearing the legend "personal and confidential" and not indicating on the
    outside thereof, by return address or otherwise , that the communication is from an attorney or concerns an action against the person to
    be served . This was mailed with proper postage to:

    Stephen M. Osborn , Esq .
    44 Montgomery Street, 36 th Floor
    San Francisco, CA 94104

    THE DESCRIPTION OF THE PERSON WITH WHOM THE COPY (IES) OF THIS PROCESS WAS LEFT IS AS FOLLOWS :
    John Doe, I delivered the documents to an individual who refused to give their name who indicated they were the secretary .
    The individual tried to refuse service by dropping documents and said steven didn’ t want him to accept it ( documents left,
    seen by subject). The individual appeared to be a black -haired Asian male contact 35-45 years of age , 5' 6”-5 '8 " tall and
    weighing 160- 180 lbs with an accent and glasses. Secretary called defendant on phone and Defendant told him not to accept .
    I told him i had to leave documents and i left them right at his feet. He apologized he couldn’ t accept.

    Deponent asked the indicated person whether the defendant and/or present occupant was presently in the military service of
    the United States Government or in active duty in the military service of the State of New York or a dependent of anybody in
    the military and was told defendant and/ or present occupant was not.
    Executed on            K     50                   20   QJ
        Q$k   ..
    Tasia Stone , Reg . # 18 -003 , Placer County , CA
    ABC Legal Services , Inc ,
    DCA Lie. #1380619 Exp , 02/ 28/22
    147 Prince St , Suite 4-6 , Brooklyn , NY 11201

    STATE OF NEW YORK COUNTY OF
    SWORN TO AND SUBSCRIBED BEFORE ME THIS                                  OF            20.    BY                                  (AFFIANT NAME)


    SIGNATURE OF NOTARY PUBLIC                                                                                Please see attached
                                                                                                              jurat form pursuant
                                                                                                              toCA Government
    PRINT , TYPE OR STAMP NOTARY ' S COMMISSIONED NAME                                                        Code Section 8202

    PERSONALLY KNOWN                    OR PRODUCED IDENTIFICATION
    TYPE OF IDENTIFICATION PRODUCED


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                                                      CALIFORNIA JURAT



            A notary public or other officer completing this certificate verifies only the identity of the individual
            who signed the document to which this certificate is attached, and not the truthfulness, accuracy, or
            validity of that document.




      State of California

      County of Placer

                                                                           0              if 9. p Td VTl bf
                                                                                                 '

      Subscribed and sworn to (or affirmed ) before me on this                   day of                       X . 2021
      by    TaJia Marjg JtODP                                                             proved to me on the basis of

      satisfactory evidence to be the person
                                                     ^    who appeared before me.




                                                                                           ( Notary Seal )
                           C7
      Signature of Notary Public

      Alleya L Galvez , NOTARY PUBLIC                       EXP: Aug 3, 2023




                                                ADDITIONAL OPTIONAL INFORMATION

        DESCRIPTION OF THE ATTACHED DOCUMENT
         Affidavit Of inilii nil
        imffll; complaint f. onwimfion Notice
        Title or
             description of attached document
                                                 ,




        CAPACITY CLAIMED BY THE SIGNER

        /   Individual

                        ^             Corporate Officer       Trustee(s)       Other.




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              EXHIBIT
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     INDEX OF PLEADINGS
              PLEADINGS SERVED
                        SERVED IN
                               IN THE
                                  THE STATE
                                      STATE COURT
                                            COURT ACTION
                                                  ACTION



1. SUMMONS
1. SUMMONS FILED
           FILED ON
                 ON SEPTEMBER
                    SEPTEMBER 7,
                              7, 2021.
                                 2021.

2. COMPLAINT
2. COMPLAINT FILED
             FILED ON
                   ON SEPTEMBER
                      SEPTEMBER 7,
                                7, 2021.
                                   2021.

3. AFFIDAVIT
3. AFFIDAVIT OF
             OF SERVICE
                SERVICE FILED
                        FILED ON
                              ON OCTOBER
                                 OCTOBER 5,
                                         5, 2021.
